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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 VEGA CAPITAL LONDON LIMITED and
 ADRIAN SPIRES,
                                                       Misc. Case No. 4:24-mc-1163
        Movants,
                                                       (Arising from Civil Case No. 1:20-cv-04577
 v.                                                    in the United States District Court for the
                                                       Northern District of Illinois)
 EXXONMOBIL OIL CORPORATION,

        Respondent.


                         DECLARATION OF MICHAEL P. KELLY

       I, Michael P. Kelly, hereby declare as follows:

       1.      I am an attorney with Akerman LLP and represent Vega Capital London Limited

("Vega") and Adrian Spires ("Spires") in the above captioned case.

       2.      This Declaration is made to authenticate documents that are attached as Exhibits

to Vega and Spires' Motion to Compel Production of Documents.

       3.      Exhibit 1 is a true and correct copy of the docket entry at ECF 338 on May 30,

2024 in the case of Mish International Monetary Inc. v. Vega Capital London Limited, et al.,

Case No. 1:20-cv-4577 (N.D. Ill.) ("Illinois Case").

       4.      Exhibit 2 is a true and correct copy of the transcript of the telephone motion

hearing and ruling by the Honorable Manish S. Shah in the Illinois case on May 30, 2024.

       5.      Exhibit 3 is a true and correct copy of the Interim Staff Report, Commodity

Futures Trading Commission, Trading in NYMEX WTI Crude Oil Futures Contract up to, on,

and around April 20, 2020 (Nov. 23, 2020), as available at

https://www.cftc.gov/media/5296/InterimStaffReportNYMEX_WTICrudeOil/download.




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        6.      Exhibit 4 is a true and correct copy of the publicly available version of the

corrected Second Amended Complaint that plaintiff Mish International Monetary Inc. (“Mish”)

filed in the Illinois case on May 19, 2022, which contains redactions pursuant to the protective

order entered in the Illinois case.

        7.      Exhibit 5 is a true and correct copy of a joint status report filed by the parties in

the Illinois Case on December 14, 2023.

        8.      Exhibit 6 is a true and correct copy of a joint status report filed by the parties in

the Illinois Case on July 12, 2024.

        9.      Exhibit 7 is a true and correct copy of Exhibit 21 attached in support of the Form

10-K filed with the Securities and Exchange Commission by Exxon Mobil Corporation for its

fiscal year ending December 31, 2020.

        10.     Exhibit 8 is a true and correct copy of excerpts of the Form 10-K filed with the

Securities and Exchange Commission by Exxon Mobil Corporation for its fiscal year ending

December 31, 2020.

        11.     Exhibit 9 is a true and correct copy of a press release issued by Exxon Mobil

Corporation on April 7, 2020, as maintained on its website. This press release can also be

obtained directly from Exxon Mobil Corporation's website at the following address:

https://corporate.exxonmobil.com/news/news-releases/2020/0407_exxonmobil-reduces-2020-

capex-by-30-percent-cash-opex-by-15-percent (last visited on July 19, 2024).

        12.     Exhibit 10 is a true and correct copy of the subpoena served on ExxonMobil's

registered agent on November 16, 2023.

        13.     Exhibit 11 is a true and correct copy of the responses and objections served by

ExxonMobil and dated December 8, 2023.



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       14.     Exhibit 12 is a true and correct copy of excerpts of the deposition transcript of Dr.

Stephen Craig Pirrong on May 14 and 15, 2024 in Houston, Texas. While the parties initially

marked the entirety of the transcript as Highly Confidential, following a motion from Vega and

Spires, the Court entered an order removing the confidential designation of these five pages of

Dr. Pirrong's transcript. Mish International Monetary Inc. v. Vega Capital London Ltd., et al.,

Civil Action No. 1:20-cv-04577, ECF 338.

       15.     Exhibit 13 is a true and correct copy of Chapter 7 of the Rulebook for the New

York Mercantile Exchange, as maintained on CME Group Inc.'s website. The chapter can also

be found at the following address on CME's website:

https://www.cmegroup.com/rulebook/NYMEX/1/7.pdf (last visited on July 20, 2024).

       16.     Exhibit 14 is a true and correct copy of the protective order entered in the Illinois

case on November 5, 2020.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on July

22, 2024.


                                                              /s/ Michael P. Kelly
                                                              Michael P. Kelly




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